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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                      :
                                            :         CASE NO. 18-71820-BEM
KENNETH LAMAR STARR                         :         CHAPTER 13
                                            :
                      DEBTOR.               :

                         OBJECTION TO CONFIRMATION

      COMES NOW, Specialized Loan Servicing LLC (“Movant”), who holds a secured lien on
 the Debtor’s real property known as 1454 Walnut Log Place, Austell, GA 30168 and objects to
 confirmation of the Debtor’s proposed Chapter 13 Plan on the grounds that it does not comply with
 the provisions of 11 U.S.C. § 1322, 11 U.S.C. §1325 and 11 U.S.C. §506. In particular, Movant
 objects to the Debtor’s proposed Chapter 13 Plan on the following grounds.
                                                 1.
      Movant is in the process of filing a Proof of Claim in the approximate amount of
 $104,747.72, including estimated pre-petition arrearages in the amount of $17,380.49.
                                                 2.
      Debtor’s Chapter 13 Plan as proposed fails to provide for curing the pre-petition arrearage
 owed to Movant during a reasonable period of time.
                                                 3.
      Debtor's Chapter 13 Plan as proposed understates the amount of the prepetition arrears
 owed to Movant at the time of filing.
                                                 4.
      Debtor’s Chapter 13 Plan’s projected monthly arrearage payment is insufficient to protect
 Movant’s interest.
                                                 5.
      Movant reserves the right to object to confirmation of Debtor’s Chapter 13 Plan if Debtor
 fails to make ongoing direct post-petition mortgage payment as required by Debtor’s proposed
 Chapter 13 Plan.
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                                                 6.
      Upon information and belief, Debtor’s Chapter 13 Plan is not feasible.
                                                 7.
      Debtor’s Chapter 13 Plan is not in the best interest of Debtor and Creditors.


      WHEREFORE, Movant hereby objects to confirmation of the Debtor’s Chapter 13 Plan,
 and requests that the Court decline to approve Debtor’s Chapter 13 plan and grant such
 additional relief as the Court deems just and proper.



                                                      /s/Chad R. Simon
                                                      Chad R. Simon
                                                      Georgia Bar No. 646919
                                                      The Chad R. Simon Law Firm, LLC
                                                      Post Office Box 80727
                                                      Atlanta, GA 30366
                                                      (770) 856-9046
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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing Objection to Confirmation has been
furnished by Electronic Mail or regular U. S. Mail to all parties listed below on this 23rd day of
January, 2019.

Kenneth Lamar Starr
1454 Walnut Log Place
Austell, GA 30168

Howard P. Slomka
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Trustee
Mary Ida Townson
Chapter 13 Trustee
Suite 2200
191 Peachtree Street, NE
Atlanta, GA 30303-1740


                                                              /s/Chad R. Simon
                                                              Chad R. Simon
                                                              Georgia Bar No. 646919
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